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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

Advanced Energy United, et al.,               )
                                              )      Nos. 23-1282, 23-1284,
                   Petitioners,               )      23-1289, 23-1293,
                                              )      23-1297, 23-1299,
             v.                               )      23-1305, 23-1310,
                                              )      23-1312, 23-1313,
Federal Energy Regulatory Commission,         )      23-1320, 23-1327 &
                                              )      23-1330 (consolidated)
                   Respondent.                )

               UNOPPOSED MOTION OF RESPONDENT
            FEDERAL ENERGY REGULATORY COMMISSION
                 TO HOLD CASES IN ABEYANCE AND
              ESTABLISH DATE FOR FURTHER MOTIONS

      The Court’s November 9 order in these consolidated cases suspended the

deadlines for filing initial submissions, procedural and dispositive motions, and the

certified index to the record, pending further order of the Court, and directed the

parties to file motions to govern future proceedings by December 12, 2023. In

response to the Court’s order, Respondent Federal Energy Regulatory Commission

(“FERC” or the “Commission”) contacted counsel for all Petitioners and Movant-

Intervenors in these consolidated cases in advance of the December 12 deadline.

      After a series of collegial, cooperative exchanges, the Commission and other

parties developed this proposal to (1) hold these cases in abeyance and (2) establish

a date of February 16, 2024 for filing motions to govern, in which parties may

propose continued abeyance or other procedures. The new February 16, 2024 date
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eliminates the need for other party filings prior to that date; the deadlines described

in the November 9 order (including deadlines for initial submissions and the

certified index to the record) should continue to be suspended pending further

motions to govern. The Commission is authorized to state that no party opposes

the relief described in this motion.

      These consolidated petitions arise from a Commission rulemaking,

Improvements to Generator Interconnection Procedures and Agreements, 184

FERC ¶ 61,054 (July 28, 2023) (“Order 2023”), currently pending on agency

rehearing. Order 2023 implements reforms to the procedures governing the

interconnection of power generation sources to the electric transmission grid. See

id. P 3 (rulemaking is designed to “ensure that interconnection customers are able

to interconnect to the transmission system in a reliable, efficient, transparent, and

timely manner”). Numerous parties filed requests for agency rehearing of Order

2023. See FERC Dkt. No. RM22-14-001.1 On September 28, the Commission

gave notice that it intends to issue a future order upon further consideration of the

many requests for agency rehearing. See Notice of Denial of Rehearing by

Operation of Law and Providing for Further Consideration, 184 FERC ¶ 62,163

(2023).



      1 Filings in FERC proceedings are available at:

https://elibrary.ferc.gov/eLibrary/search.
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      After issuance of the September 28 Notice, multiple parties filed petitions

for review in this Court and the U.S. Courts of Appeals for the Third, Sixth, and

Eighth Circuits. As reflected in this docket, the Judicial Panel on Multidistrict

Litigation issued a consolidation order on October 25 consolidating the petitions in

this Court. Since the filing of the Commission’s November 8 unopposed motion to

suspend initial deadlines and set a new deadline for further motions, additional

petitions for review have been filed. At present, 13 petitions for review are

consolidated in this proceeding. See Docket, Nos. 23-1282, et al.

      Numerous requests for agency rehearing of FERC Order 2023 are currently

pending before the Commission, and will be addressed in a future order. In light of

the ongoing agency proceedings, abeyance here will serve the interest of judicial

economy in avoiding piecemeal appeals. See, e.g., Outland v. Civil Aeronautics

Board, 284 F.2d 224, 227-28 (D.C. Cir. 1960); see also State of Alaska v. FERC,

980 F.2d 761, 764 (D.C. Cir. 1992). In particular, the continued suspension of the

date for filing the certified index to the record allows the Commission to retain

jurisdiction to address the pending requests for agency rehearing and “to affirm,

modify, or set aside [its] order[s] in whole or in part,” before the Court assumes

exclusive jurisdiction to do so. See 16 U.S.C. § 825l(b).

      Accordingly, the Commission requests that the Court grant this unopposed

motion.


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                                           Respectfully submitted,


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                                           /s/ Susanna Y. Chu
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December 11, 2023




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), I certify that this motion complies with

the type-volume limitation of Fed. R. App. P. 27(d)(2)(A) because this motion

contains 592 words.

      I further certify, pursuant to Fed. R. App. P. 27(d)(1)(E), that this motion

complies with the typeface requirements of Fed. R. App. P. 32(a)(5) and the type

style requirements of Fed. R. App. P. 32(a)(6) because this motion has been

prepared in Times New Roman 14-point font using Microsoft Word for Office 365.



                                       /s/ Susanna Y. Chu
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                            CERTIFICATE OF SERVICE

      I hereby certify that, on December 11, 2023, a copy of the foregoing was

filed electronically. Notice of this filing will be sent to all parties via the Court’s

electronic filing system.



                                                       /s/ Susanna Y. Chu
                                                       Susanna Y. Chu
                                                       Attorney
